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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                           CA SE 17-20275-CR-UNGARO


 UNITED STATES OF AMERICA ,

                Plaintiff,

 VS .                                                  OR DER

 KEV IN C . FUSCO ,




         THIS CAUSE came before the Court for Calendar Call on May

        2017, in the interest of justice and based on the
 representations made by counsel,

    ORDERED AND ADJUDGED that the case is continued for trial to the

two-week period beginning AUGUST 7, 2017 This case is specially set .

Calendar Call w ill be held on AUGUST 2, 2017 at 1 :00 p .m . The Court

further     finds   that   the   period   of   delay    resulting   from   this

continuance, to-wit:lthe date of the Cal. Calllto and including the

date     trial is commenced , shall be deem ed           excludable   time   in

accordance w ith the provisions of the Speedy Trial Act, 18 U . S .C .,

5 3161 etsec . A ll exhibits must be pre-marked and the exhibit list

shall be furnished to the Court along with each parties proposed

voir dire questions and proposed jury instructions TEN DAYS before
the date of trial . MOTION CUTOFF DATE JUNE 30, 2017 .

        All motions filed shall be accompanied by a written statement

certifying that counsel for the moving party has conferred with

opposing counsel in a good faith effort to resolve by agreement
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 the subject matter of the motion.
       If either side intends to seek the admission of tapes and

 transcrip ts at trial, final revisions to the transcripts must be

 comp leted and provided to the opposing party not later than 15 days

 prior to jury selection in this case. The Court will not admit
 transcripts which have been revised subsequent to this deadline .

      DONE AND ORDERED at Miami , Florida this                       day of

 May , 2017 .




                                            URSULA UNGARO
                                            UN ITED STATES DISTRICT JUDGE




       Counsel of record
